     Case 7:24-cv-00279-ADA           Document 10-1       Filed 11/12/24     Page 1 of 1




                                         Attachment A

           I, Yue (Joy) Wang, have been admitted to practice in the following courts:

                     Title of Court                                    Date Admitted
                                                           5/19/2014 (patent agent)
U.S. Patent & Trademark Office
                                                           2/23/2015 (patent attorney)
California State Courts (300594)                           12/5/2014
U.S. District Court, Central District of California        1/29/2015
Federal Court of Appeals – Federal Circuit                 4/28/2015
U.S. District Court, Northern District of California       3/1/2017
Federal Court of Appeals – Ninth Circuit                   11/30/2020
